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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
           Plaintiff,                             )          Criminal No. 10-10-3-GFVT
                                                  )
 V.                                               )
                                                  )
 MICHAEL SCOTT BALL,                              )                    ORDER
                                                  )
           Defendant.                             )

                                        *** *** *** ***

       This matter is before the Court pending review of the Recommended Disposition of

United States Magistrate Judge Hanly A. Ingram [R. 157] filed herein on August 31, 2010.

Consistent with local practice, the Recommended Disposition addresses the question of

competency of the Defendant, Michael Scott Ball. [Id.]

       After reviewing the forensic report of the Defendant’s psychiatric evaluation and

conducting a competency hearing, Magistrate Judge Ingram concluded that the Defendant was

“competent to face further proceedings, to include trial, in this matter.” [Id.] The Recommended

Disposition advises the parties that any objections must be filed within fourteen (14) days of

service or waive the right to further appeal. [Id.] As of this date, neither party has filed

objections or sought an extension of time to do so. Thus, pursuant to 28 U.S.C. § 636(b)(1), this

Court will adopt the Recommended Disposition.

       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.         The Magistrate Judge’s Recommended Disposition [R. 157] is ADOPTED as and
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for the opinion of this Court;

       2.      Pursuant to 18 U.S.C. § 3161(h)(1)(A), the Court DECLARES all time related to

the competency evaluation and determination excludable under the Speedy Trial Act.

       3.      The Clerk of the Court is directed to provide a copy of this Order to the United

States Probation Office and the United States Marshal.

       This the 6th day of October, 2010.




                                                2
